
65 N.Y.2d 649 (1985)
In the Matter of Thomas H. Jones, Appellant,
v.
Karen A. Jones, Respondent.
Court of Appeals of the State of New York.
Argued April 22, 1985.
Decided May 28, 1985.
Robert H. Ballan for appellant.
Robert P. Nydam for respondent.
Chief Judge WACHTLER and Judges JASEN, MEYER, SIMONS, KAYE and ALEXANDER concur; Judge TITONE taking no part.
*650MEMORANDUM.
The order of the Appellate Division should be affirmed, with costs.
The Appellate Division's determination that no compelling reason for change of the original custody arrangement had been shown more nearly comports with the weight of the evidence than does the contrary determination of the Family Judge. In this setting there is no abuse of discretion.
Order affirmed, with costs, in a memorandum.
